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                                  UNITED STATES DISTRICT COURT
1
                                  NORTHERN DISTRICT OF GEORGIA
2

3      CASSANDRA GROVE,                                Case No.: 1:23-cv-05320-TWT-JEM
4               Plaintiff,
                                                       STIPULATION OF DISMISSAL AS
5      v.                                              TO DEFENDANT EXPERIAN
                                                       INFORMATION SOLUTIONS, INC.
6
       NELNET SERVICING, LLC DBA
7
       FIRSTMARK SERVICES; EXPERIAN
8      INFORMATION SOLUTIONS, INC.;
       EQUIFAX INFORMATION SERVICES
9      LLC, and TRANSUNION LLC,
10
                Defendants.
11
            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff and Defendant Experian
12
     Information Solutions Inc. jointly stipulate that Experian Information Solutions, Inc. may
13

14
     be dismissed with prejudice, with each of the parties to bear their own fees and costs.

15   Plaintiff’s claims against Nelnet Servicing, LLC dba Firstmark Services and Equifax
16
     Information Services, LLC remain pending.
17
            Respectfully submitted March 4, 2024
18

19

20    /s/ Esther Oise                                  /s/ Alisha Goel
      Esther Oise, Esq. (GA Bar #686342)               Alisha Goel
21
      Oise Law Group PC                                Ga. Bar No. 423573
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24
      Attorney for Plaintiff                           alishagoel@jonesday.com
25                                                     Attorney for Defendant Experian
      /s/ Allison Rhadans                              Information Solutions, Inc.
26
      Allison Rhadans
27    Ga. Bar No. 940557
      Allison.Rhadans@equifax.com
28    Legal Counsel - Litigation

     Grove v. Firstmark, et al.                    1                    STIPULATION OF DISMISSAL
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      Equifax Legal Department
1
      1550 Peachtree Street
2     Atlanta, Georgia 30309
      470-714-5657
3     Counsel for Equifax Information
4     Services LLC

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11
                                  CERTIFICATE OF SERVICE
12
          I hereby certify that on March 4, 2024, I electronically transmitted the foregoing
13

14   document to the Clerk’s Office using the ECF system for filing and transmittal of a Notice
15   of Electronic Filing to all CM/ECF registrants of record in this matter.
16
                                            By: /s/ Esther Oise
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     Grove v. Firstmark, et al.                   2                    STIPULATION OF DISMISSAL
